 

AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Wisconsin

In the Matter of the Search of:

Information associated with email address
jnickels@thefiscon.com stored at premises owned,
maintained, controlled, or operated by Network Solutions,
LLC/Web.com Group, Inc. See Attachment A-l.

CaseNo._ EMY'M' igé?f

 

\/\_/VVV\/

APPLICATION FOR A SEARCH WARRANT
I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under penalty of
perjury that l have reason to believe that on the following person or property:

Information associated with email address jnickels@thefiscon.com stored at premises owned, maintained, controlled,
or operated by Network Solutions, LLC/Web.com Group, lnc. See Attachment A-l.

located in the Eastern District of Wisconsin, there is now concealed:

See Attachment B-l.

The basis for the search under Fed. R. Crim P. 4l(c) is:
w evidence of a crime;
L__l contraband, fruits of crime, or other items illegally possessed;
[l property designed for use, intended for use, or used in committing a crime;
l:\ a person to be arrested or a person who is unlawfully restrained

The search is related to violations of: 18 U.S.C. §§ 371, 1341, 1343, and 1957

The application is based on these facts: See attached affidavit

 

|:| Delayed notice of days (give exact ending date if more than 30 days: v ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet. MM,,
:::.,...,,? W /M/W
':'3/ m ff ”Wm=“mw:::W
F/M“ Appli(c/¢yzf§ signgyl,:tjzrg,awwaw

Special Agent J esse Leming, IRS-Cl

Pl~inted Name and Tz`tle
Sworn to before me and signed in my presence:

ii/z»z;/ 7 "

City and State: Milwaukee, Wisconsin ` Williarn E. Duffin , U.S. Magistrate Judge
ease 2:17-mj-01391-v\/ED Filed 11/27/17 Pagj)é¢"i”t£¥“a§“"‘t%eument 1

 

   

    
 

 

 

AFFIDAVIT IN SUPPORT OF AN APPLICATION
FOR A SEARCH WARRANT

 

I, J esse Lerning, a Special Agent (SA) with Internal Revenue Service, Criminal

investigations (IRS§CI), being duly sworn, depose and state as follows:
INTRODUCTION

l. I make this affidavit in support of an application for search warrant for
information associated with a certain account stored at premises controlled by (l) Networl<;
Solutions, LLC/Web.com Group, lnc., an email provider headquartered at 12808 Gran Bay
Parkway, West, Jacksonville, FL 32258; and (2) Nsight, an email provider headquartered
at 450 Security Boulevard, P.O. Box 19079, Green Bay, WI 54307-9079. The information
to be searched is described in Attachment A.‘ This affidavit is made in support of an
application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and
2703(0)(1)(A) to require Network Solutions, LLC/Web.corn Group, Inc. and Nsight to
disclose to the government copies of the information (including the content of
communications) further described in Section l of Attachment B. Upon receipt of the
information described in Section I of Attachment B, govemment-authorized persons will
review that information to locate the items described in Section ll of Attachment B.

2. l am employed as a Special Agent with the lntemal Revenue Service,
Criminal Investigation (IRS-Cl) and have been so employed since January 2003. As a
Special Agent, my responsibilities include the investigation of potential criminal violations
of Title 26 (the Internal Revenue Code), Title 31 (the Banl< Secrecy Act), and Title 18 of
the United States Code.

3. The facts in this affidavit come from my personal observations, my training

and experience, and information obtained from witnesses and investigators from the

Case 2:17-mj-01391-WED Filed 11/27/17 Page 2 of 25 Document 1

 

 

 

Wisconsin Department of Financial lnstitutions - Division of Securities (“Wisconsin
Division of Securities”). This affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my knowledge about
this matter.

4. Based on the facts set forth in this affidavit, I respectfully submit that there
is probable cause to believethat the information associated with the accounts identified in
A~l and A-Z contains evidence concerning violations of 18 United States Code, Sections
371, 1341, '1343, and 1957 (The “Subject Offenses”), as described in Attachments B-l
and B-Z.

BACKGROUND OF THE INVESTIGATION

5. Law Enforcement has been investigating J ames Nickels and Gregory
Anderson since August 2017. This investigation was initiated after a state investigation
was completed by securities examiners with the Wisconsin Department of Financial
Institutions - Division of Securities (“Wisconsin Division of Securities”). This
f investigation led to the Wisconsin Division of Securities commencing administrative
. enforcement proceedings against J ames Nickels, Gregory Anderson, The Fiscal
Concierge, LLC and the Fiscal Concierge Manager, Inc. for multiple violations of the
Wisconsin Uniform Securities Law.

6. Based on a review of the state investigation and order, law enforcement
suspected that Nickels was operating a “Ponzi” scheme.

7. Nickels was a financial advisor in Manitowoc, Wisconsin and the
surrounding area from approximately 1980 to 2006. Nickels worked as a broker for

companies such as Merrill Lynch, Raymond James, and Capital Financial Management.

Case 2:17-mj-01391-WED Filed`11/27/17 PageSof 25 Documentl

 

 

 

 

8.

According to the Wisconsin Division of Securities and the State of lllinois

Securities Department, Nickels was the subject of numerous disciplinary actions by

securities regulators in both states. These actions included:

9.

21.

A Warning Letter was issued by the Wisconsin Division of Securities on
September 21, 1993 following customer allegations of excessive and
unauthorized trading in customer accounts.

Nickels’ securities’ licenses were suspended for two (2) days by the
Division in July 1998 for excessive and unauthorized transaction in
customer accounts.

Nickels’ securities’ license was revoked by the State of lllinois’ Securities
Department in January 1999 as a result of the July 1998 suspension in
Wisconsin. f

An undertaking and agreement between Nickels and the Wisconsin
Division of Securities during revocation proceedings instituted in 2006.
Pursuant to the agreement-, Nickels was suspended for ninety (90) days.
Nickels agreed to surrender his securities agent license in 2007, and not
re-enter the securities business as a securities agent, broker-dealer, or
investment advisor.

In 2006, Nickels formed a limited liability company named The Fiscal

Concierge, LLC which he operated until at least September of 2017. In 2009, Nickels

formed a Wisconsin corporation named The Fiscon l\/lanager Inc. The Fiscon l\/lanager,

lnc. then became the manager of The Fiscal Concierge and was responsible for the

reporting of income and expenses related to The Fiscal Concierge, LLC. At all times

Case 2:17-mj-01391-WED Filed 11/27/17_ Page 4 of 25 Document 1

 

 

 

material, The Fiscon l\/lanager, Inc. was solely owned and controlled by Nickels. The
Fiscal Concierge and the Fiscon l\/langer lnc. will be referred to collectively herein as
“Fiscal Concierge.” f

10. Fiscal Concierge marketed itself as a bill pay service provider, which
would use access to a customer’s checking account to make timely payments of any bills
the customer contracted Fiscal Concierge to handle. Fiscal Concierge charged its
customers between $20-60 per month for its bill payment services. Since its inception,
Fiscal Concierge never had more than 44 bill pay customers, and almost all of the money
deposited into the company has come from promissory note investors rather than from
services provided

ll. From l\/Iay 1, 2007 through September 12, 2016, Nickels and Fiscal
Concierge offered and sold promissory notes totaling approximately $5.1 million to at
least 39 Wisconsin residents, one (1) lllinois resident, and (1) Michigan resident None
of the promissory notes were registered with the Wisconsin Division of Securities as
required by law. lf these notes had been registered, Nickels would not be allowed to
offer them due to the agreement made between he and the Wisconsin Division of
Securities in 2007.

12. The promissory note terms promised investors annual retums, paid in
monthly installments, of at least eight percent (8%) for the duration of one (1) year. The
notes could be renewed annually at the investors’ discretion Nickels marketed the notes
as producing a higher rate of return than investors could receive at a bank, and further
touted that Fiscal Concierge had never missed an interest or principal payment. He also

sent frequent updates to his promissory note holders that announced positive

Case 2:17-mj-01391-WED Filed 11/27/17 Page 5 of 25 Document 1

 

 

developments for the company regarding growth and expansion to, agencies and
organizations focused on providing services to the elderly or disabled in other states.

13. Greg Anderson performed tax preparation and accounting services for
Fiscal Concierge and Nickels from 2006 to 2007 and more recently from 2014 to present
` Anderson was apartner at lhlenfeld, Skatrud & Anderson (“ISA”) until 2009, when he
stepped down as a partner but continued as an independent contractor pursuant to an
agreement between ISA and Anderson. In early 2014, Anderson joined Fiscal
Concierge’s advisory board and formally invested in two promissory notes totaling
$25,000. lnvestors interviewed by your affiant stated Anderson mentioned his
investment in Fiscal Concierge when encouraging them to invest with Nickels.

FRAUD SCHEME

14. Nickels provided some investors with a one (1) page marketing piece
(“l\/iarketing Piece”) informing them of the details of Fiscal Concierge’s promissory note
terms. The Marketing Piece represented that Fiscal Concierge had never missed an
interest or principal payment to any note holder. The Marketing Piece did not disclose
any of the investment risks to promissory note holders of Fiscal Concierge.

15. Analysisof Nickels and Fiscal Concierge’s banking and corporate
financial records show the following apparent transactions and trends, each of which is
indicative of a “Ponzi” scheme:

a. Funds from an investor or multiple investors were received into Nickels
business account and then a different investor was paid;
b. Payments of interest to investors and repayments of principal were wholly

dependent on the infusion of capital from new investors ;

Case 2:17-mj-01391-WED Filed 11/27/17 Page 6 of 25 Document 1

 

 

 

c. Funds from an investor or multiple investors were received into Nickels '
business account. Funds Were then transferred from the business account
to Nickels personal account.

16 . Nickels continued to distribute the l\/larketing Piece to solicit investors for
Fiscal Concierge after October 21, 2013, when he missed his first interest payment to a
note holder. Nickels began to miss several more interest payments to note holders in
.February 2014.

17. ln August 2014, the estate of a deceased investor notified Nickels that the
promissory note held by the deceased investor, which would mature on January 31, 2015,
would not be renewed and would need to be paid out to settle the estate. Despite
approximately six (6) months’ notice, Nickels was unable to repay the note to the estate
when it came due, but still continued to distribute the Marketing Piece after January 31,
20 1 5 .

18. Nickels continued to distribute the Marketing Piece after the deceased
investor’s estate filed a lawsuit on March 27, 2015 against Nickels for failure to make
payment The Marketing Piece was not revised and was distributed through at least
October 21, 2015. d

19. Nickels also distributed a marketing folder with documents indicating that
Fiscal Concierge was bonded and sent out regular emails which misrepresented Fiscal
Concierge as a profitable, successful company when in fact it had never made a profit,
was insolvent, and could not pay its debts and obligations as they became due, including

interest and principal payments to promissory note holders.

Case 2:17-mj-01391-WED Filed 11/27/17 Page 7 of 25 Document 1

 

 

 

20. Analysis of investments made by twenty-eight (2 8) of the living investors
shows they invested a collective total of over $3,860,000 in Fiscal Concierge promissory
notes, of which approximately $3,760,000 is outstanding

FINANCIAL CONDITION OF FISCAL CONCIERGE AND NICKELS

21. As part of its investigation, the Wisconsin Division of Securities

subpoenaed bank account information of Nickels and Fiscal Concierge, requested
multiple reports from Fiscal Concierge’s QuickBooks accounting software, and g
obtained Fiscal Concierge’s corporate tax returns Analysis of these documents by both
the Wisconsin Division of Securities and IRS~CI show that the company has never been
a profitable business at any time, and that Nickels and Fiscal Concierge have never
been able to make principal or interest payments to earlier investors without the
infusion of additional money from another investor or investors. From 2010 through
2015, Fiscal Concierge’s average annual revenue for its bill paying services was
approximately $7,774, yet its average annual expenses and deductions averaged
approximately $463,000. In addition to these expenses, Nickels took distributions from
the company of $825,000. The table below summarizes financial information from
Fiscal Concierge’s QuickBooks accounting reports. The numbers reported on Fiscal

Concierge’s income tax returns are similar.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Year Fiscal Fiscal Fiscal Notes Payable Nickels
Concierge Concierge Concierge Net Distributions
Gross Total Expenses Income (Loss)
Receipts
2010 `$3,378.18 $387,871.24 ($384,493.06) , $1,491,788.65 $169,826.00
2011 $4,961.65 $430,749.17 ($425,787.52) $2,361,200.00 $143,301.00
2012 $8,111.69 $457,846.49 ($449,734.80) $2,845,900.00 $123,634.00
2013 $10,952.30 $4`90,227.52 ($479,275 .22) $3,425,900.00 $114,460.00
2014 $9,019.41 $431,322.94 ($422,303.53) $3,969,999.97 $108,024.00
2015 $10,218.15 $583,144.31 ($572,926.16) $3,933,966.62 $165,755.00
Total $46,641.38 $2,781,161.67 ($2,734,520.29) $825,000.00

Case 2:17-mj-01391-WED Filed 11/27/17 Page 8 of 25 Document 1

 

 

 

22. Bank account records provided by both Bank First National and Investors
Community Bank were analyzed going back to 2010. These records show that Fiscal
Concierge maintained a business checking account at Bank First National from
September 2006 through l\/lay 2016. The signors on this account were J ames Nickels and
Paul Wallander. Analysis of the deposit items and checks written show that Nickels
conducted nearly all of the financial transactions in the account Investors Community
Bank records show that Fiscal Concierge maintained a business checking account at
Investors Community Bank from Apn`l 1, 2016 through December 31, 2016. Nickels is
the only person with signature authority on this account Analysis of the deposit items
and checks written on the account show that Nickels conducted nearly all the transactions
in the account

ANDERSON’S KNOWLEDGE OF FISCAL CONCIERGE’S FINANCES

23. Nickels had his personal tax returns and Fiscal Concierge’s business tax
returns prepared by accounting firm Ihlenfeld, Skatrud, & Anderson (“IHS”) for tax years
2006 to 2007 and more recently from 2014 to present.

24. Division staff interviewed Gary Opichka on September 14, 2016. Opichka
stated essentially:

a. Opichka is a partner at IHS. Opichka said that although Anderson
represents himself to people as an operating partner of the firm, he is
actually an independent contractor.

b. Opichka did not have detailed knowledge of Fiscal Concierge’s finances
Opichka said Anderson was the primary person responsible for dealing

with Nickels and Fiscal Concierge and would have an understanding of

Case 2:17-mj-01391-WED Filed 11/27/17 Page 9 of 25 Document 1

 

 

 

Fiscal Concierge’s finances. Anderson compiled Fiscal Concierge’s
financial information for tax years 2013 and 2014 the end of each year,
calculated the numbers to be placed on Fiscal Concierge’s return, and
provided those numbers to another IHS partner, Ned Jacquart. Jacquart
then took Anderson’s numbers and input them onto Fiscal Concierge’s
corporate tax retums.

c. Anderson compiled Nickels personal financial information for tax years
2013 and 2014 at the end of each year, calculated the numbers to be
placed on Nickel’s personal tax returns, and provided those numbers to
Opichka. Opichka then took Anderson’s numbers and input them onto
Nickels’ personal tax returns.

25. As a result of his professional relationship with Nickels and Fiscal
Concierge, Anderson was aware of the financial condition of Fiscal Concierge and
Nickels’ annual income drawn from the company. Despite this knowledge, he regularly
solicited his accounting clients to invest in promissory notes of Fiscal Concierge since
February 5, 2014 at the latest lnvestor interviews conducted by Wisconsin Division of
Securities and lRS-Cl show that Anderson’s solicitations resulted in at least seven
Wisconsin residents investing in Fiscal Concierge promissory notes.

SUMMARY OF INVESTOR INTERVIEWS

26 . Several of the investors are admittedly unsophisticated investors and
several of the investors are elderly. The investors were told, and believed, that their
investments in Fiscal Concierge were going to be used to fund the operations of a

growing and successful business. At no time did Nickels or Anderson provide any

Case 2:17-mj-01391-WED Filed 11/27/17 Page 10 of 25 Document 1

 

 

 

prospective investors with an accurate representation of Fiscal Concierge’s financial
condition Investors were told a variety of things to include that their investments were
“guaranteed” to earn a fixed rate of return.

27. Promotional literature used induce investments, copies of promissory
notes, investments funds into Fiscal Concierge, interest payments to investors, and
communications intended to delay repayment, i.e.: lulling communications, were often
transmitted by means of wire communications in interstate commerce and/or mail sent or
delivered by the Postal Service.

EXAMPLES OF SPECIFIC INVESTOR TRANSACTIONS AND USE OF EMAIL

28. On October 3, 2017, law enforcement interviewed Fiscal Concierge
investor D.K. D.K. stated essentially:

a. D.K. first invested with Nickels in 2013.
b. Nickels represented to D.K. that her investment would be used to grow
Fiscon’s business

c. Between 2013 and 2017, Nickels routinely told D.K. that the business was

growing. Nickels routinely represented that the business was entering into
contracts with government agencies and privately owned elder care
facilities in Wisconsin, Florida, and l\/lichigan. Nickels made these
representations to D.K. over email, the phone, and in person at his office.
d. D.K. specifically asked Nickels what would happen if his business . » 1
encountered problems and she wanted her money back. Nickels told D.K.
he Would be able to cover her investment by liquidating the assets of The

Fiscal Concierge and personal assets including his home if the need arose. l

Case 2:17-mj-01391-WED Filed 11/27/17 Page 11 of 25 Document 1

 

 

e. Nickels transmitted promissory notes and the Marketing Piece to D.K. by
email on October 21, 2015. D.K. provided me with a printed copy of this
email that she had kept The email indicates it was sent by
inickels@thefiscon.com and had a signature line reading “J im Nickels.”

f. D.K. liquidated her 401k and a Roth IRA account and invested
$147,387.20 in Fiscal Concierge promissory notes on or about February 1,
2016 . D.K. ’s decision to invest was made based in significant part on the
representations contained in the l\/[arketing Piece sent to her by email,
specificallyi the false statements related to Fiscal Concierge not missing
any interest or principal payments to investors

g. D.K. has been repaid a total of $12,152.58 of the investment The last
payment she received was on or about May 23, 2016. D.K. said she
routinely emails Nickels to inquire about the status of her investment

h. D.K. could not locate electronic copies of any email correspondence to or
from Nickels that took place before her investment on February 1, 2016.

i. D.K. was able to locate electronic copies of emails exchanged between her
and Nickels from September 27, 2016 through April 14, 2017. Nickels
sent at least 34 emails to D.K. All of these emails show that they were
sent from inickels@thef"lscon.com. In two of these emails, Nickels made

representations indicating that he and his accountant were actively seeking

 

new investors with the intent of taking new investment funds to pay earlier

investors The email chain shows that Nickels’ emails were sent from

Case 2:17-mj-01391-WED Filed 11/27/17 Page 12 of 25 Document 1

 

 

inickels@thefiscon.com. These emails end with a standard signature
reading:

J im Nickels

The Fiscal Concierge LLC

980 Maritime Drive, Suite 6

Manitowoc Wl 54220

Phone: 920-686-8810

Fax: 920-682-9774

www.thefiscon.com

inickels@thefiscon.com

29. D.K. stated she had sent and received additional emails to/from Nickels,
but she could not locate them in her email account

30. The $147,387.15 invested by D.K. on February 1, 2016 was deposited to
Fiscal Concierge’s business bank account These funds were used to pay $l9,785.l3 in
interest due to other investors, $20,000.00 in principal to another investor who was
demanding repayment, a single transfer of $50,000 to Nickels’ home equity line of credit
on February 3, 2016, $12,3 00 to personal accounts held by Nickels and his wife, and
$29,120.36 to expenses related to Fiscal Concierge.

31. Based on the information contained in this affidavit and the evidence
obtained during this investigation, l submit the $50,000 transferred from Fiscal
Concierge’s business bank account to Nickels’ home equity line of credit referenced in
paragraph 30 above constitute or were derived from proceeds traceable to specified
unlawful activity, namely, a scheme to defraud investors by use of wire communications
in violation of 18 U.S.C. § 1343. The transfer of these funds involved financial

institutions and the value was over $10,000, and therefore was in violation of Title 18

U.S'.C. § 1957.

Case 2:17-mj-01391-WED Filed 11/27/17 Page 13 of 25 Document 1

 

 

 

 

32. On October 2, 2017, law enforcement interviewed Fiscal Concierge
investor S.E., who stated essentially:

a. Greg Anderson was S.E. ’s tax accountant for approximately 10 years,
since about 2005. Anderson knew that S.E. ’s aunt passed away and that
S.E. would be receiving a distribution from the estate. Anderson told S.E.
that he knew a guy, J im Nickels, who was offering a good deal if she
wanted to get in on it. Anderson said Nickels would pay 8% interest on
money invested Anderson explained that Nickels needed capital to fund a
business named The Fiscal Concierge. Anderson told S.E. that The Fiscal
Concierge was a bill-pay service primarily focused on assisting elderly
clients

b. Nickels transmitted promissory notes and a modified version of the
Marketing Piece to S.E. by email on February 5, 2016. S.E. provided me
with a printed copy of this email that she had kept The email indicates it
was sent by inickels@thefiscon.com and had a signature line reading
“Jim Nickels” The recipients of the email were S.E. and l
isagreg@lakefield.net.

c. S.E. received additional emails from Nickels between February of 2016
and lune of 2016 . These emails were promotional in nature and reflected
The Fiscal Concierge in a positive way. Based on the Promissory Note
details, documents and emails, S.E. thought The Fiscal Concierge was a
growing and successful business S.E. also had phone conversations with

Nickels during this period Nickels described the businessin a positive

Case 2:17-mj-01391-WED Filed 11/27/17 Page 14 of 25 Document 1

 

 

 

33.

tone that led S.E. to believe the business was healthy and growing. Nickels
represented that The Fiscal Concierge was gaining access to huge
customer bases by entering into agreements with various government
agencies and health care facilities in different states

S.E. invested $10,000 into one of Nickels promissory notes on or about
June 15, 2016. S.E. transmitted the signed promissory note to Nickels by
U.S. Mail. Nickels transmitted the final copy, signed by him, back to S.E.
by email from the inickels@thefiscon.com email address

Nickels made one interest payment to S.E. in July of 2016. S.E. has
received no money since. S.E. corresponds with Nickels in an attempt to
recoup her investment S.E. provided law enforcement with an email from
Nickels dated September 11, 2017. ln this email, sent from
inickels@thef“lscon.com, Nickels states that “we received some good
news that l will share with you shortly.” S.E. indicated this is the typical
generic response she gets in response to her inquiries

On October 2, 2017, law enforcement interviewed Fiscal Concierge

investor S.K. S.K. stated essentially:

3.

S.K. met J im Nickels though Greg Anderson. Anderson was S.K.’s tax
accountant from approximately 2006 through 2016.

Anderson originally floated the idea of investing with Nickels in or about
April of2015. S.K. didn’t invest at that time.

Anderson again brought up the idea of investing with Nickels in April of

2016. Anderson told S.K. the investment was to promote growth in The

Case 2:17-mj-01391-WED Filed 11/27/17 Page 15 of 25 Document 1

 

 

 

 

Fiscal Concierge’s business and, in return, S.K. would earn 8% interest
S.K. decided to invest $25,000 with Nickels

S.K. did not receive any financial statements related to The Fiscal
Concierge before investing. S.K. said he invested based on the “continual
recommendation” of Anderson, who was a reputable CPA in Manitowoc.
Anderson told S.K. that he (Anderson) had money invested in Nickel’s
promissory notes.

Both Nickels and Anderson failed to disclose the true financial condition
of Fiscal Concierge, their past regulatory history related to securities, and
the missed interest and principal payments to S.K. before S.K. invested
S.K. invested $25,000 with Nickels on April 27, 2016.

f S.K. received one (1) interest payment in or about l\/iay of 201 6. S.K. has
not received money since.

S.K. said he corresponded with Gre g Anderson via email about the status
of his investment and provided a printed copy of an email from Greg
Anderson. The email was dated September 14, 2016, which was two
weeks after Anderson was interviewed about the scheme by investigators
from the Wisconsin Division of Securities The email was sent from
isagreg@lakefield.net. ln the email, Anderson writes:

re the notes and Fiscal Concierge ...... j im did get 1 -2 months behind due
to some unplanned early redemptions/paydowns due to some estates
getting involved with a deceased noteholder, etc....bat lastI heard things
were getting back on track re cash flows and jinaneing....l still have my

25/€ in it too ..... and they are getting some good traction with some bigger
groups that can really get things to the next level.

Case 2:17-mj-01391-WED Filed 11/27/17 Page 16 of 25 Document 1

 

 

 

34. The $25,000.00 invested by S.K. on April 27, 2016 was deposited to
Fiscal Concierge’s business bank account at Investors Community Bank on May 2, 2016.
These funds were combined With $15,000.00 of funds deposited by another investor and
funds already in the account on May 3, 2016 to bring the account balance up to'
$41,274.16. ln the seven day period from l\/lay 3, 2016 through May 10, 2016, these
funds were used to pay $l 1,628.11 in interest due to other investors, $10,000.00 in
principal to another investor’s estate that was demanding repayment $8,100 to personal
accounts held by Nickels and his wife, and $10,149.92 to expenses related to Fiscal
Concierge.
OTHER KNOWN EMAILS FROM ANDERSON
35. Anderson touted the notes as offering a higher return than traditional
financial institutions, and more predictable tax consequences and income when compared
to investing in mutual funds One such email was provided to the Wisconsin Division of
Securities by Nickels’ attorney in response to a request for records related to Fiscal
Concierge. This email was sent on February 5, 2014 from isagreg-@lakefield.net to
several of Anderson’s accounting clients as well as Nickels at inickels@thef"lscon.com.
The subject line of the email read “a cure for those nasty 1099’s from mutual funds.” ln
the email, Anderson touted Fiscal Concierge as “a solution” that would provide “better
than average yields (not those joke rates for bank accounts and cds).” Anderson went on
to describe Fiscal Concierge as:
"an area company who is growing tremendously, has expanded into other
parts of the country, and is on “the cusp ” of attracting some suitors for a
buyout (or taking it public) in the coming ]-2 years But meanwhile they

could hasten this growth with added funds...and they are ojj”ering one year
notes (not stock...a pure loan due in a year) with an 8% yield (with

Case 2:17-mj-01391-WED Filed 11/27/17 Page 17 of 25 Document 1

 

 

 

 

interest paid out monthly, if you desire) this way you get actual $$$...are
not dependent on the roller coaster values of the stock market ”

36 . Other emails provided to the Wisconsin Division of Securities by Nickels’
attorney in response to a request for records related to Fiscal Concierge show that
Anderson regularly referred his clients to Nickels, provided information to Nickels on
how to “close” clients to invest in the notes, and supplied clients’ personal information
regarding their assets, liquidity, and investment goals The earliest such email is dated
May 11,- 2007. These emails were transmitted between inickels@thefiscon.com and
isagreg@lakefield.net.

37. On or about October 13, 2017, Network Solutions, LLC/Web.com Group
lnc. was served with a request under 18 U.S.C. § 2703 (D to preserve all records related to
inickels@thefiscon.com. On or about November 6, 2017, Nsight was served with a
request under 18 U.S.C. § 2703(f) to preserve all'records related to
isagreg@lakefield.net.

38. l anticipate executing this warrant under the Stored Communications Act,
in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(a) AND 2703(c)(1)(A), by using the
warrant to require Network Solutions, LLC/Web.com Group, lnc. and Nsight to disclose
to the government copies of the records and other information (including the content of
communications) particularly described in Section l of Attachment B, government-
authorized persons will review that information to locate the items described in Section ll
of Attachment B.

CONCLUSION
39. Based on my training and experience, and the facts as set forth in this

affidavit, there is probable cause to believe that on the computer systems in the control of

Case 2:17-mj-01391-WED Filed 11/27/17 Page 18 of 25 Document 1

 

 

 

Network Solutions, LLC/Web.com Group, Inc. there exists evidence of a crime.

Accordingly, a search warrant is requested

Case 2:17-mj-01391-WED Filed 11/27/17 Page 19 of 25 Document 1

 

 

 

ATTACHMENT A-l
Property to Be Searched
This warrant applies to information associated with email address
inickels@thefiscon.com (the “account”) that is stored at premises owned, maintained
controlled, or operated by Network Solutions, LLC/Web.com Group, lnc., a company
headquartered at 12808 Gran Bay Parkway, West, Jacksonville, FL 32258 (the

“Provider”).

Case 2:17-mj-01391-WED Filed 11/27/17 Page 20 of 25 Document 1

 

 

 

ATTACHMENT B-l
Particular Things to be Seized

I. Information to be disclosed by Network Solutions, LLC/Web. com Group,
Inc. (the “Provider”)

To the extent that the information described in Attachment A is within the
possession, custody, or control of the Provider, the Provider is required to disclose the
following information to the government foreach account or identifier listed in
Attachment A:

a. The contents of all emails stored in the account, including copies of emails

sent from the account; '

b. All records or other information regarding the identification of the

account, to include full name, physical address, telephone numbers and other

identifiers, records of session times and durations, the date on which the account
was created, the length of service, the types of services used, the IP address used
to register the account, log-in lP addresses associated with session times and
dates, account status, alternative email addresses provided during registration,
methods of connecting, log files, and means and source of payment (including any
credit or bank account number);

c. All records or other information stored by an individual using the account,

including address books, contact and buddy lists, pictures and files ;

d. All records pertaining to communications between the Provider and any

person regarding the account, including contact with support services and records

of actions taken.

Case 2:17-mj-01391-WED Filed 11/27/17_ Page 21 of 25 Document 1

 

 

 

II. Information to be seized by the government

All information described above in Section l that constitutes fruits, evidence or
instrumentalities of violations of statutes listed on the warrant involving l ames Nickels
and Gregory Anderson since 2006, including, for each account or identifier listed on
Attachment A, information pertaining to the following matters:

a. Communications regardingithe Fiscal Concierge, LLC, the Fiscal

Concierge l\/_[anager, lnc., “Marketing Piece”, marketing folder, and investment

opportunity;

b. Records relating to who created, used, or communicated with the account _

Case 2:17-mj-01391-WED Filed 11/27/17 Page 22 of 25 Document 1

 

 

 

ATTACHMENT A-2
Property to Be Searched
This warrant applies to information associated with email address
isagreg@lakefield.net (the “account”) that is stored at premises owned, maintained,
controlled, or operated by Nsight., a company headquartered at 450 Security Blvd., PO

Box 19079, Green Bay, WI 54307-90'79 (the “Provider”).

Case 2:17-mj-01391-WED Filed 11/27/17 Page 23 of 25 Document 1

 

 

 

ATTACHMENT B-Z
Particular Things to be Seized
I. Information to be disclosed by Nsight
To the extent that the information described in Attachment A is within the
possession, custody, or control of the Provider, the Provider is required to disclose the
following information to the government for each account or identifier listed in
Attachment A:

a. The contents of all emails stored in the account, including copies of emails
sent from the account;

b. All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the account was
created, the length of service, the types of services used, the lP address used to
register the account, log-in lP addresses associated with session times and
dates, account status, alternative email addresses provided during registration,
methods of connecting, log files, and means and source ofpayment (including
any credit or bank account number);

c. All records or other information stored by an individual using the account,
including address books, contact and buddy lists, pictures and files;

d. All records pertaining to communications between the Provider and any
person regarding the account, including contact with support services and

records of actions taken.

Case 2:17-mj-01391-WED Filed 11/27/17 Page 24 of 25 Document 1

 

 

 

II. Information to be seized by the government
All information described above in Section l that constitutes fruits, evidence or
instrumentalities of violations of statutes listed on the warrant involving James'Nickels
and Gregory Anderson since 2006, including, for each account or identifier listed on
Attachment A, information pertaining to the following matters:
a. Communications regarding the Fiscal Concierge, LLC, the Fiscal Concierge
Manager, lnc., “l\/iarketing Piece”, marketing folder, and investment
opportunity;

b. Records relating to who created, used, or communicated with the account

Case 2:17-mj-01391-WED Filed 11/27/17 Page 25 of 25 Document 1

 

 

 

